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                                                                                     DISTRICT OF TEXAS




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                        IN THE UNITED STATES DISTRICT C URT
                        FOR THE NORTHERN DISTRICT OFT XAS                             20!7 I    ,
                                FORT WORTH DIVISION
                                                                                    _ _.JtJ.''Z
                                                                           ~:Rl~ U.S. DISTRICT~
 ANDRE FILLMORE,                                §                                       Deputy
                                                §
          Plaintiff,                            §
 vs.                                            §         C.A. No. 4:17-cv-00746   -A
                                                §
 LIBERTY INSURANCE                              §
 CORPORATION,                                   §
                                                §
          Defendant.                            §

                           PLAINTIFF'S AMENDED COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

         Andre Fillmore ("Mr. Fillmore"), Plaintiff herein, files this Amended Complaint against

Defendant Liberty Insurance Corporation ("Liberty") and, in support of his causes of action, would

respectfully show the Court the following:

                                                    I.
                                          THE PARTIES

         1.      Andre Fillmore is a Texas resident who resides in Tarrant County, Texas.

         2.      Liberty is an insurance company doing business in the State of Texas and has

already been served in this matter.

                                            II.
                                 JURISDICTION AND VENUE

         3.      This court has subject matter jurisdiction of this cause of action pursuant to 28

US.C. § 1332.

         4.      Venue is proper under 28 U.S.C. § 1391 because a substantial part of the events or

omissions giving rise to the claim occurred in the Northern District of Texas, Fort Worth Division.




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                                                III.
                                  FACTUAL BACKGROUND

       5.      Mr. Fillmore resides in a home located at 9082 Rushing River, Fort Worth, Texas

76118-7736. He is a named insured under a property insurance policy issued by Liberty, Policy

No. H37-29B-230401-40, effective July 31, 2015 through July 31, 2016.

       6.      On or about March 17, 2016 a severe hail storm producing baseball, golf ball and

egg shaped hail in some areas along with high winds struck Fort Worth, Texas. Multiple media

sources report that the first severe thunderstorm moved through the Fort Worth area just after 4:00

a.m. local time with a second storm following around 7:00 a.m. The storm damaged Mr. Fillmore's

home, namely the roof, soft metal vent caps on the roof, and the fence surrounding Mr. Fillmore's

property.

       7.        Mr. Fillmore subsequently filed a claim on his insurance policy, Claim No.

035501831-01.

       8.      On or about May 14, 2017, Liberty adjuster Matt Widick inspected Plaintiffs

residence. Widick conducted a substandard investigation and inspection of the property, prepared

a report that failed to include all of the damages that were observed during the inspection, and

undervalued the damages that he did observe and document during the inspection.

       9.       For example, after inspecting, documenting annd photographing Plaintiffs

residence, Adjuster Widick misrepresented Plaintiffs damage in a letter dated May 14, 2017. In

the letter, Widick claimed that damage to Plaintiffs property was so minimal as to not exceed

"[Plaintiffs policy deductible" of $1,741.00. Widick's May 14th letter also appeared to claim that

the damage to Plaintiffs home was prior damage and wear or tear. Widick' s letter does not clarify

which damages are wind or hail related damages, how Widick concluded that some of the damage
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was wear or tear related or prior storm damage, or how Widick concluded that some storm prior

to the policy period caused damage to Plaintiffs home.

       10.      Even more alarming, Widick refused to replace the severly damaged roof, and

instead, Widick wrote an estimate on May 14, 2017 to remove and patch 50 individual shingles at

a cost of only $247.50. In some areas, Plaintiffs shingles had been completely blown off the

roof. Widick's estimate did not even account for clear damage to Plaintiffs fence or soft metals.

        11.    Despite the significant damge to Plaintiffs roof, soft metals and fence, Widick

wrote an estimate for only $1,010.18, well below the deductible of $1,741.00.

        12.    Frustrated with the outcome of the claim and the obvious damage to his roof, Mr.

Fillmore attempted to work with Liberty to reevaluate the damages to his property. Liberty refused

to change their position or explain their findings.

        13.    The adjuster assigned to the claim conducted a substandard investigation and

inspection of the property, prepared a report that failed to include all of the damages that were

observed during the inspection, and undervalued the damages observed during the inspection.

        14.    Moreover, Liberty performed an outcome-oriented investigation of Plaintiffs claim,

which resulted in a biased, unfair and inequitable evaluation of Plaintiffs losses on the property.

                                             IV.
                                      CAUSES OF ACTION

        15.    Each of the foregoing paragraphs is incorporated by reference in the following:

A.     Breach of Contract

        16.    Liberty had a contract of insurance with Plaintiff. Liberty breached the terms of

that contract by wrongfully denying and/or underpaying the claim and Plaintiff was damaged

thereby.
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B.     Prompt Payment of Claims Statute

       17.     The failure of Liberty to pay for the losses and/or to follow the statutory time

guidelines for accepting or denying coverage constitutes a violation of Section 542.051 et seq. of

the Texas Insurance Code.

       18.     Plaintiff, therefore, in addition to Plaintiffs claim for damages, is entitled to 18%

interest and attorneys' fees as set forth in Section 542.060 of the Texas Insurance Code.

C.     Bad Faithilleceptive Trade Practices Act ("DTP A")

       19.     Defendant is required to comply with Chapter 541 of the Texas Insurance Code.

       20.     Defendant violated Section 541.051 of the Texas Insurance Code by:

               (1)    making statements misrepresenting the terms and/or benefits of the policy.

       21.     Defendant violated Section 541.060 by:

               (1)    misrepresenting to Plaintiff a material fact or policy provision relating to

                      coverage at issue;

               (2)    failing to attempt in good faith to effectuate a prompt, fair, and equitable

                      settlement of a claim with respect to which the insurer's liability had

                      become reasonably clear;

               (3)    failing to promptly provide to Plaintiff a reasonable explanation of the basis

                      in the policy, in relation to the facts or applicable law, for the insurer's

                      denial of a claim or offer of a compromise settlement of a claim;

               (4)    failing within a reasonable time to affirm or deny coverage of a claim to

                       Plaintiff or submit a reservation of rights to Plaintiff; and

               (5)    refusing to pay the claim without conducting a reasonable investigation with

                      respect to the claim;
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       22.    Defendant violated Section 541.061 by:

              (1)    making an untrue statement of material fact;

              (2)    failing to state a material fact necessary to make other statements made not

                     misleading considering the circumstances under which the statements were

                     made;

              (3)    making a statement in a manner that would mislead a reasonably prudent

                     person to a false conclusion of a material fact;

              (4)    making a material misstatement of law; and

              (5)    failing to disclose a matter required by law to be disclosed.

       23.    At all material times hereto, Plaintiff was a consumer who purchased insurance

products and services from Defendant.

       24.    Defendant has violated the Texas DTP A in the following respects:

              (1)    Defendant represented that the agreement confers or involves rights,

                     remedies, or obligations which it does not have, or involve, or which are

                     prohibited by law;

              (2)    Liberty failed to disclose information concerning goods or services which

                     was known at the time of the transaction when such failure to disclose such

                     information was intended to induce the consumer into a transaction that the

                     consumer would not have entered into had the information been disclosed;

              (3)    Liberty, by accepting insurance premiums but refusing without a reasonable

                     basis to pay benefits due and owing, engaged in an unconscionable action

                     or course of action as prohibited by Section 17.50(a)(1)(3) of the DTPA in

                     that Liberty took advantage of Plaintiffs lack of knowledge, ability,
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                        experience, and capacity to a grossly unfair degree, that also resulted in a

                        gross disparity between the consideration paid in the transaction and the

                        value received, in violation of Chapter 541 of the Texas Insurance Code.

       25.      Defendant knowingly committed the acts complained of. As such, Plaintiff is

entitled to exemplary and/or treble damages pursuant to the DTPA and Texas Insurance Code

Section 541.152( a)-(b ).

D.     Attorneys' Fees

       26.      Plaintiff engaged the undersigned attorney to prosecute this lawsuit against

Defendant and agreed to pay reasonable attorneys' fees and expenses through trial and any appeal.

       27.      Plaintiff is entitled to reasonable and necessary attorney's fees pursuant to Texas

Civil Practice and Remedies Code Sections 38.001-38.003 because he is represented by an

attorney, presented the claim to Defendant, and Defendant did not tender the just amount owed

before the expiration of the 30th day after the claim was presented.

        28.     Plaintiff further prays that he be awarded all reasonable attorneys' fees incurred in

prosecuting his causes of action through trial and any appeal pursuant to Sections 541.152 and

542.060 of the Texas Insurance Code.

                                                 v.
                                  CONDITIONS PRECEDENT

        29.     All conditions precedent to Plaintiff's right to recover have been fully performed,

or have been waived by Defendant.

                                               VI.
                                             PRAYER

        WHEREFORE, PREMISES CONSIDERED, Andre Fillmore prays that, upon final

hearing of the case, he recover all damages from and against Defendant that may reasonably be
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established by a preponderance of the evidence, and that Mr. Fillmore be awarded attorneys' fees

through trial and appeal, costs of court, pre-judgment interest, post-judgment interest, and such

other and further relief, general or special, at law or in equity, to which Mr. Fillmore may show

himself to be justly entitled.


                                            Respectfully submitted,




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                                            -And-

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                                                    LOCAL COUNSEL FOR PLAINTIFF
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on   October~'   2017, a true and correct copy of the forgoing was

served on all counsel ofrecord in accordance with the Federal Rules of Civil Procedure.


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                                                    £2~    David L. Bergen
